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and Debtors in Possession

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


In re:                                                         Chapter 11

RTW RETAILWINDS, INC., et al.,                                 Case No. 20-18445 (JKS)

                                     Debtors.1                 (Jointly Administered)


                   NOTICE OF FIRST AMENDMENT TO STALKING HORSE
                            ASSET PURCHASE AGREEMENT

         PLEASE TAKE NOTICE that on July 17, 2020, the above-captioned debtors and debtors

in possession (collectively, the “Debtors”), filed the Debtors’ Motion for (I) an Order (A)

Approving the Bidding Procedures and Form of Asset Purchase Agreement for the Sale of Certain

of the Debtors’ Assets, (B) Establishing the Notice Procedures and Approving the Form and

Manner of Notice Thereof, (C) Approving Procedures for the Assumption and Assignment of

Certain Executory Contracts and Unexpired Leases, (D) Scheduling a Sale Hearing, and (E)


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           The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal tax identification
number, as applicable, are as follows: RTW Retailwinds, Inc. (1445); Lerner New York Holding, Inc. (2460);
Lernco, Inc. (4787); Lerner New York, Inc. (2137); New York & Company, Inc. (4569); Lerner New York GC,
LLC (6095); Lerner New York Outlet, LLC (6617); New York & Company Stores, Inc. (6483); FTF GC, LLC
(7341); Lerner New York FTF, LLC (6279); Fashion to Figure, LLC (6997); FTF IP Company, Inc. (6936). The
Debtors’ principal place of business is 330 W. 34th St., 9th Floor, New York, New York 10001.



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Granting Related Relief, and (II) an Order (A) Approving the Sale of the Debtors’ Assets Free and

Clear of All Liens, Claims, Encumbrances, and Other Interests, (B) Approving the Assumption and

Assignment of Certain Executory Contracts and Unexpired Leases Related Thereto, and (C)

Granting Related Relief [Docket No. 80] (the “Bidding Procedures Motion”) with the United

States Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”).

         PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures Motion,

on August 3, 2020, the Debtors filed the Notice of Filing of Stalking Horse Agreement in

Connection With the Sale of Certain of the Debtors’ Assets [Docket No. 157] (the “Stalking Horse

Notice”), which notice attached as Exhibit A the Stalking Horse Agreement between the Debtors

and Sunrise Brands LLC (the “Stalking Horse APA”).

         PLEASE TAKE FURTHER NOTICE that on August 10, 2020, the Bankruptcy Court

entered an Order approving the Bidding Procedures Motion [Docket No. 192], including the

approval of the Stalking Horse APA as the stalking horse bid for the assets set forth in the Stalking

Horse APA.




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         PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit 1 is the First

Amendment to the Stalking Horse APA.


 Dated: August 14, 2020                      Respectfully submitted,

                                             COLE SCHOTZ P.C.

                                             By:      /s/ Ryan T. Jareck
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                                        EXHIBIT 1

                          (First Amendment to Stalking Horse APA)




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